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_________________________________________________________________________________

                                                   SO ORDERED,



                                                   Judge Jason D. Woodard
                                                   United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
________________________________________________________________________________
                         UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF MISSISSIPPI


IN RE:         Sharon Childers                               CASE NO.           18-14088

               DEBTOR(S)                               CHAPTER              7


                                            ORDER


       THIS DAY, THIS CAUSE came on for hearing on the United States Trustee’s (“UST”)
Motion for Extension of Time in which to Object to Discharge of Debtor and / or to File Motion
to Dismiss Pursuant to 11 U.S.C. § 707(b) in the above styled and numbered case and there being
no response, and the Court having considered same finds that the UST’s motion is well taken and
should be granted, therefore,
       IT IS ORDERED that the UST shall be and is here granted an additional sixty (60) days
from and after the current deadline of February 8, 2019, to file a Complaint Objecting to
Discharge of Debtor and / or to file a Motion to Dismiss Pursuant to 11 U.S.C. § 707(b).

SUBMITTED BY:

/s/ Sammye S. Tharp
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